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                           WALKME LTD. and WALKME, INC.
                      10

                      11
                                                               UNITED STATES DISTRICT COURT
                      12
                                                           NORTHERN DISTRICT OF CALIFORNIA
                      13

                      14   WALKME LTD., an ISRAELI company                 CASE NO. ___________
                           and WALKME, INC., a DELAWARE
                      15   corporation,                                        COMPLAINT FOR:

                      16                         Plaintiffs,               1. FEDERAL FALSE ADVERTISING
                                                                             (LANHAM ACT, 15 U.S.C. § 1125(A));
                      17          v.                                       2. CALIFORNIA STATE FALSE
                                                                             ADVERTISING & DECEPTIVE TRADE
                      18   WHATFIX, INC., a DELAWARE                         PRACTICES (CAL. BUS. & PROF. CODE
                           corporation,                                      § 17500);
                      19
                                             Defendant.                    3. FEDERAL TRADEMARK INFRINGEMENT,
                      20                                                     FALSE DESIGNATION OF ORIGIN, AND
                                                                             UNFAIR COMPETITION (LANHAM ACT,
                      21                                                     15 U.S.C. §§ 1117, 1125(A);
                                                                           4. COMMON LAW TRADEMARK
                      22                                                     INFRINGEMENT, UNFAIR COMPETITION,
                                                                             AND MISAPPROPRIATION;
                      23
                                                                           5. CALIFORNIA STATE UNFAIR
                      24                                                     COMPETITION (CAL. BUS. & PROF. CODE
                                                                             §§ 17200);
                      25                                                   6. INDUCING BREACH OF CONTRACT;
                      26                                                   7. BREACH OF CONTRACT.
                                                                           DEMAND FOR JURY TRIAL
                      27
                                                                           [REDACTED VERSION]
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                       1          Plaintiffs WalkMe Ltd., an Israeli company, and WalkMe, Inc., a Delaware corporation

                       2   (together, “Plaintiffs” or “WalkMe”), by and through their attorneys, hereby bring this Complaint

                       3   against Defendant Whatfix, Inc. (“Defendant” or “Whatfix”) and allege as follows:

                       4                                         NATURE OF ACTION

                       5          1.      WalkMe, a leading innovator in digital adoption and digital transformation

                       6   technologies, brings this action to remedy serious and systematic unlawful activities by Whatfix

                       7   that have caused, and continue to cause, substantial monetary and other harm to WalkMe.

                       8   Whatfix’s actions reflect a sustained pattern and practice of unlawful and unfair business conduct

                       9   aimed at undercutting WalkMe’s business and stealing its customer base through unfair
                      10   competition and other illicit acts. Such acts include gaining unauthorized access to WalkMe’s

                      11   proprietary systems and confidential business information, actively seeking to interfere with

                      12   WalkMe’s customer relationships and contracts, making false and misleading advertising claims

                      13   about WalkMe’s products and capabilities, and repeatedly using WalkMe’s distinctive and

                      14   federally registered design mark without permission.

                      15          2.      This action is necessary to stop Whatfix’s ongoing scheme of enticing WalkMe’s

                      16   customers, in violation of their subscription agreements with WalkMe, to provide Whatfix

                      17   employees with unauthorized access to WalkMe’s secure, password-protected software platform,

                      18   in order to gain an unfair competitive advantage over WalkMe. This action is also necessary to

                      19   prevent Whatfix from continuing to deceive consumers through false and misleading comparative
                      20   advertising messages and to benefit from continued infringements of WalkMe’s distinctive brand

                      21   and logo. WalkMe seeks injunctive relief, actual damages, disgorgement of Whatfix’s

                      22   wrongfully earned profits, corrective advertising damages, costs, attorneys’ fees, punitive

                      23   damages, declaratory relief, and other relief as more fully set forth below.

                      24                                  INTRADISTRICT ASSIGNMENT

                      25          3.      This is an intellectual property action and therefore shall be assigned on a district-

                      26   wide basis per Civil L.R. 3-2(c).

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                       1                                            THE PARTIES

                       2          4.      Plaintiff WalkMe Ltd. is a company organized under the laws of Israel, with its

                       3   principal place of business at Walter Moses St. 1, Tel Aviv-Yafo, 6789903 Israel.

                       4          5.      Plaintiff WalkMe, Inc. is a corporation organized under the laws of the State of

                       5   Delaware, with its principal place of business in San Francisco, California.

                       6          6.      Upon information and belief, Defendant Whatfix, Inc. is a corporation organized

                       7   under the laws of Delaware, having its principal place of business in this District at 2107 N. 1st

                       8   Street, Suite 450, San Jose, California 95131.

                       9                                    JURISDICTION AND VENUE
                      10          7.      This is a civil action alleging federal trademark infringement, false advertising and

                      11   unfair competition under the Lanham Act, 15 U.S.C. §§ 1114 and 1125; common law trademark

                      12   infringement, unfair competition and misappropriation; deceptive trade practices under California

                      13   law, including Business & Professions Code §§ 17200 and 17500; and inducing breach of

                      14   contract and breach of contract under California state law.

                      15          8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

                      16   U.S.C. §§ 1331, 1338(a) and (b), because WalkMe’s claims address federal questions concerning

                      17   the Lanham Act. This Court has supplemental jurisdiction over WalkMe’s state law claims

                      18   because those claims are joined with substantially related claims under the Lanham Act.

                      19          9.      This Court has personal jurisdiction over Whatfix because its principal place of
                      20   business is in San Jose. Furthermore, as alleged herein, at Whatfix’s direction, numerous Whatfix

                      21   employees or agents gained access to and used certain of WalkMe’s software systems, albeit

                      22   without authorization, and by doing so became subject to WalkMe’s Terms of Service. See

                      23   Exhibit A. WalkMe’s Terms of Service contain the following forum selection and venue

                      24   provision: “Any dispute arising out of or related to your use of the Service will be brought in, and

                      25   you hereby consent to exclusive jurisdiction and venue in, the competent courts of the San

                      26   Francisco County, California.”

                      27          10.     Venue is also proper under 28 U.S.C. §§ 1391(b) and (c).

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                       1                                      FACTUAL BACKGROUND

                       2                    WalkMe’s Business and Reputation for Quality Innovations

                       3          11.     WalkMe was founded in 2011 as a company developing a computer system

                       4   guidance and navigation tool. WalkMe is the pioneer of its signature Digital Adoption Platform.

                       5   Among other things, WalkMe’s Digital Adoption Platform enables organizations to leverage data

                       6   and take immediate action to simplify user experiences across enterprise applications.

                       7          12.     WalkMe’s subscription-based Digital Adoption Platform offers a robust and

                       8   customizable set of product features and functionalities. This includes, for example, software

                       9   solutions designed to aid WalkMe’s customers, and its customers’ employees, in the areas of
                      10   digital transformation, technology change management, training and onboarding, support and

                      11   self-service, data integrity and accuracy, and software application productivity and adoption.

                      12          13.     The commercial success of WalkMe’s cutting-edge, proprietary Digital Adoption

                      13   Platform is a product of WalkMe’s innovation, substantial research and development, and

                      14   customizations driven by data and analytics relating to how WalkMe’s customers and their

                      15   employees utilize (and under-utilize) enterprise software applications.

                      16          14.     As a leading innovator in the digital transformation and digital adoption space,

                      17   WalkMe actively takes steps to protect and maintain its valuable intellectual property, including

                      18   its patent and trademark rights.

                      19          15.     For example, in addition to its substantial common law trademark rights, WalkMe
                      20   applied for and obtained a federal trademark registration (Reg. No. 7,097,155, Exhibit B) for its

                      21   stylized logo (“WALKME Logo”) (reproduced below), based on WalkMe’s continuous and

                      22   extensive interstate commercial use of the WALKME Logo to promote WalkMe’s goods and

                      23   services:

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                       1           16.        WalkMe also actively takes steps to protect the confidential and proprietary

                       2   business information that provides WalkMe a competitive advantage in the marketplace. For

                       3   example, WalkMe’s customer subscription agreements contain strict confidentiality provisions

                       4   designed to guard against public disclosure of WalkMe’s confidential, proprietary, and

                       5   commercially sensitive data and information. Additionally, WalkMe’s customer subscription

                       6   agreements and/or Terms of Service contain Restricted Use provisions designed, in part, to

                       7   prevent improper access to and use of WalkMe’s platform to unfairly compete against WalkMe.

                       8                       Whatfix’s Unfair Business Practices and Infringing Activities

                       9           17.        WalkMe and Whatfix are direct competitors that vie for subscription agreements
                      10   with the same potential customers. As part of its concerted effort to undercut WalkMe’s business

                      11   and steal WalkMe’s customers, Whatfix has: (i) interfered with multiple WalkMe customer

                      12   relationships and induced those customers to breach their subscription agreements with WalkMe

                      13   by providing Whatfix employees with user accounts and log-in credentials; (ii) used those

                      14   improperly issued log-in credentials to impersonate customer employees and gain unauthorized

                      15   access and insight to WalkMe’s proprietary systems and data for Whatfix’s own competitive

                      16   advantage; and (iii) published false and misleading comparative advertisements that materially

                      17   mispresent the capabilities and attributes of WalkMe’s products and services, in conjunction with

                      18   its unauthorized use of WalkMe’s federally-registered and distinctive WALKME Logo.

                      19           A. Whatfix’s Unlawful Intrusions into WalkMe’s Proprietary Systems
                      20           18.        In or around April 2023, WalkMe detected and investigated suspicious user

                      21   activities on its platform originating from one of its customer accounts. The WalkMe platform

                      22   records session logs of user activity—a feature disclosed and available to customers that is

                      23   designed to enhance the product functionality and user experience. From its investigation and

                      24   review of recorded web sessions and activity logs, WalkMe discovered that Whatfix caused at

                      25   least two of WalkMe’s customers –                                                            – during

                      26   term of their subscription agreements or contractual wind-down periods, to create several new

                      27   accounts associated with             and        email addresses. Although these users appeared on

                      28   their face to be            and        employees based on their company email extensions, in reality
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                       1   these user accounts were created for and utilized by Whatfix employees, agents, or

                       2   representatives (“Whatfix Users”) for the illicit purpose of viewing, analyzing, downloading, and

                       3   otherwise accessing WalkMe’s proprietary systems, methodologies, and other information, in

                       4   violation of the customers’ subscription agreements as well as WalkMe’s Terms of Service.

                       5          19.          Plaintiff WalkMe Ltd. and            entered into a Software as a Services

                       6   Agreement effective June 28, 2017 (“              Agreement”). The               Agreement “

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                      11                                            .” The             Agreement was initially in effect for three

                      12   (3) years, and it has since been renewed and extended. Pursuant to the                Agreement,

                      13   WalkMe and                 executed an Order Form relating to

                      14                                                                                                       ,

                      15   effective from November 1, 2022 to April 30, 2023.                  elected not to renew this particular

                      16   implementation and transitioned these specific services to Whatfix after the April 30, 2023

                      17   termination.

                      18          20.          The         Agreement contains a Confidentiality provision. This provision

                      19   defines “Confidential Information” as “
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                      22                  .”

                      23          21.          The         Agreement’s Confidentiality provision restricts the disclosure of

                      24   Confidential Information as follows:

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                      12           22.      On or around April 21, 2023, while the          Agreement and Order Form

                      13   relating to                              remained in effect,          created three new user

                      14   accounts using            email addresses: (1) apoorva.mittal@             .com; (2)

                      15   sanjna.chebium@                .com; and (3) aman.singh@              .com.

                      16           23.      In view of the user activities that followed, WalkMe is informed and believes that

                      17   these accounts were created at Whatfix’s direction for, or on behalf of, three Whatfix Users: (1)

                      18   Apoorva Mittal, (2) Sanjna Chebium, and (3) Aman Singh.

                      19           24.      According to the user activity logs and web sessions recorded and maintained by
                      20   WalkMe, these             user accounts were utilized on numerous occasions between April 21 and

                      21   April 27, 2023, from IP addresses geolocated in India, to access various implementations of the

                      22   WalkMe platform. WalkMe’s records reflect that these accounts were used to gain unlawful

                      23   access to a host of confidential, commercially sensitive, and proprietary information, all within

                      24   the           Agreement’s definition of Confidential Information.

                      25           25.      For example, WalkMe’s records reflect that these three Whatfix Users logged into

                      26   the           customer account and collectively accessed at least six separate implementations of

                      27   the WalkMe platform, only one of which relates to

                      28                                                             .
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                       1          26.      Plaintiff WalkMe Inc. and        entered into a Master Subscription Agreement

                       2   effective March 28, 2019 (“        Agreement”). Through the          Agreement, “

                       3

                       4

                       5                .” The initial Order Form corresponding to the       Agreement was in effect until

                       6   March 31, 2021. WalkMe and             later executed a renewal Order Form effective from April 1,

                       7   2021 to March 31, 2023.

                       8          27.      The        Agreement contains a Confidentiality provision which defines

                       9   “Confidential Information” as:
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                      22          28.      The        Agreement restricts the disclosure of Confidential Information as

                      23   follows:

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                      17          29.     In addition to the Confidentiality provisions, the    Agreement also contains a

                      18   Restricted Use provision which provides, in relevant part:

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                       4          30.     During its investigation of the IP addresses associated with suspicious

                       5          users, WalkMe discovered another suspicious user account belonging to                that

                       6   logged in from an IP address geolocated in India.

                       7          31.     Upon further investigation, WalkMe discovered the existence of three                user

                       8   accounts, corresponding to purported              email addresses, that were being used by Whatfix

                       9   Users to access WalkMe’s platform: (1) rbhati@             com, (2) pprige@       com, and (3)
                      10   pbhattacharya@        com.

                      11          32.     In view of the user activities that followed, WalkMe is informed and believes that

                      12   these accounts were created at Whatfix’s direction for, or on behalf of, three Whatfix Users:

                      13   (1) Rupender Bhati, (2) Paula Prigge, and (3) Priyansh Bhattacharya.

                      14          33.     According to user activity logs and web sessions recorded and maintained by

                      15   WalkMe, these user accounts were utilized on numerous occasions from at least March 28 to

                      16   April 14, 2023, while the renewal Order Form and              Agreement were either still in effect

                      17   (through March 31, 2023) or in a          wind-down period (beginning April 1, 2023)

                      18

                      19          . WalkMe’s records reflect that these accounts were used to gain unlawful access to
                      20   confidential, commercially sensitive, and proprietary information, all within the

                      21   Agreement’s definition of Confidential Information.

                      22          34.     WalkMe’s recorded web sessions and activity logs show that the Whatfix Users

                      23   explored and compromised various aspects of WalkMe’s systems, targeting workflows, tasks,

                      24   content, permissions, integration capabilities, and user engagement metrics to gain insights into

                      25   WalkMe’s product and customized user experience. The Whatfix Users also accessed underlying

                      26   rule configurations driving the workflows and content displayed at customer deployment sites,

                      27   downloaded PDFs, and accessed supporting documentation to gain a deeper understanding of

                      28   WalkMe’s processes and product.
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                       1          35.      WalkMe’s recorded web sessions and activity logs further reveal that the Whatfix

                       2   Users accessed numerous features, deployments, and data that would allow Whatfix to gain

                       3   competitive, proprietary knowledge and information to which it otherwise would not have access,

                       4   including, but not limited to insights and knowledge regarding WalkMe’s: (i) product

                       5   performance, operation, and user engagement metrics; (ii) workflows, content, and product

                       6   algorithms; (iii) implementation if its software at customer sites, including configurations,

                       7   workflows, and content structuring; (iv) customer requirements and pain points; and (v)

                       8   functionality, design, and potential system vulnerabilities.

                       9          36.      This information is proprietary to WalkMe and Confidential Information under the
                      10            Agreement and the          Agreement. The Whatfix Users’ improper access of and

                      11   visibility into such information affords Whatfix a substantial and unfair competitive advantage by

                      12   enabling Whatfix to, among other things, unlawfully replicate WalkMe’s solutions, features, and

                      13   customizations and undercut WalkMe with a less costly offering, tailor its product offerings to

                      14   specific customers based on insights gained, and unlawfully displace WalkMe from its existing

                      15   customer accounts using WalkMe’s own application and data.

                      16          37.      The Whatfix Users had no lawful or legitimate business purpose to access

                      17   WalkMe’s platform, let alone the customized modules, data and analytics specific to the

                      18   and          customer experiences. The           Agreement and           Agreement prohibit these

                      19   customers from providing access to or disclosing WalkMe Confidential Information to the
                      20   Whatfix Users or using such information in a manner that would harm or competitively

                      21   disadvantage WalkMe.

                      22          38.      Upon information and belief, Whatfix knew that WalkMe had subscription

                      23   agreements with           and         when it directed or caused these customers to enable

                      24   Whatfix Users to gain unauthorized access to WalkMe’s systems. In order for the Whatfix Users

                      25   to gain access to WalkMe’s secure, password-protected software platform, Whatfix knew that it

                      26   required log-in credentials generating from and associated with an active WalkMe customer

                      27   account and that the Whatfix Users had to impersonate             and        employees.

                      28          39.      WalkMe and Whatfix are direct competitors in the digital adoption and digital
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                       1   transformation software solution space and vie for business from the same customers and

                       2   potential customers, including              and           As a matter of general industry practice,

                       3   customers enter into subscription-based agreements with providers like WalkMe and Whatfix in

                       4   order to access and use their software products and services. At or around the time that Whatfix

                       5   directed or caused            and          to create user accounts for, or on behalf of, the Whatfix

                       6   Users, Whatfix was actively seeking to acquire                and        as new customers from

                       7   WalkMe. After WalkMe’s Order Form with                      terminated and its services agreement with

                       8            terminated, both customers transitioned either all or a portion of their WalkMe business to

                       9   Whatfix. Through this process, WalkMe is informed and believes that Whatfix knew or became
                      10   aware that WalkMe had subscription agreements in place with both                   and

                      11            40.     By directing or causing            and          to create user accounts and log-in

                      12   credentials for, or on behalf of, the Whatfix Users, Whatfix committed an intentional act designed

                      13   to induce a breach or disrupt the contractual relationship between WalkMe and these customers.

                      14   As a direct and proximate result of Whatfix’s conduct,                breached at least the

                      15   Confidentiality provision of the             Agreement, and           breached at least the

                      16   Confidentiality and Restricted Use provisions of the             Agreement, recited in relevant part

                      17   above.

                      18            41.     If Whatfix had not intentionally directed or caused these customers to create and

                      19   provide the Whatfix Users with user accounts and log-in credentials to access WalkMe’s
                      20   proprietary platform containing confidential business information and commercially sensitive

                      21   data, WalkMe is informed and believes that these customers would not have violated, and would

                      22   have no reason to violate, the Confidentiality provisions and/or Restricted Use provisions set

                      23   forth in their customer agreements.

                      24            42.     In addition to the subscription agreements that WalkMe enters into with its

                      25   customers, WalkMe implements Terms of Service, published on its website, which govern the use

                      26   of certain WalkMe systems and services, including by non-customer end-users. See Exhibit A.

                      27   As alleged herein, the Whatfix Users accessed WalkMe’s Services unlawfully, without any valid

                      28   authorization, and without any legitimate business purpose. By visiting and accessing certain
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                       1   WalkMe systems and services governed by the Terms of Service, albeit by unlawfully

                       2   impersonating customer employees, the Whatfix Users became legally bound by the contractual

                       3   duties and obligations that apply to any end-user under the Terms of Service.

                       4          43.     WalkMe’s Terms of Service govern use of WalkMe’s website, “any additional

                       5   website and/or web pages owned and/or operated by WalkMe…, as well as the services listed in

                       6   Section 1 [of the Terms of Service], including [WalkMe’s] Community Portal.” See Exhibit A.

                       7   Section 1, in turn, provides that the Terms of Service govern access and use of the following

                       8   WalkMe services: WalkMe Free Edition, WalkMe Editor, WalkMe Player, WalkMe Analytics,

                       9   WalkMe Visions, WalkMe University, WalkMe World Community Portal, and QA Recorder. Id.
                      10          44.     Section 6 of the Terms of Service (“Use Restrictions”) enumerates “[c]ertain

                      11   conduct [that] is strictly prohibited on and/or with respect to the Services.” Section 6 cautions

                      12   that “failure to comply with the provisions set forth below may result, in the termination or

                      13   suspension of your access to the Services, which is in WalkMe’s sole and absolute discretion, and

                      14   may also expose you to civil and/or criminal liability. Exhibit A, § 6.

                      15          45.     Pursuant to Section 6 of the Terms of Service, end-users of WalkMe’s Services

                      16   agree not to do the following, among other things, by themselves or on anyone else’s behalf:

                      17                  (i) copy, modify, adapt, translate, reverse engineer, decompile, or

                      18                  disassemble the Services (or any part thereof);… (vii) sell, license, or

                      19                  exploit for any commercial purposes any use of or access to the Services;
                      20                  (viii) frame or mirror any parts of the Services without WalkMe’s prior

                      21                  express written authorization; (viv) create a database by systematically

                      22                  downloading and storing all or any of the content from the Services; (x)

                      23                  impersonate any person or entity or provide false or misleading personal

                      24                  information; (xi) use the Services for any illegal, immoral or unauthorized

                      25                  purpose; and (xii) use the Services in any way that violates any applicable

                      26                  federal, state, local, or international law or regulation (including, without

                      27                  limitation, any laws regarding the export of data or software to and from the

                      28                  United States or other countries).
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                       1   Id. at § 6.

                       2           46.    In view of the Whatfix Users’ activities described herein, it is evident that the

                       3   Whatfix Users flagrantly violated at least Section 6 of WalkMe’s Terms of Service. Among other

                       4   things, the Whatfix Users impersonated WalkMe’s customers’ employees to gain access to

                       5   WalkMe’s platform and specifically targeted the WalkMe platform and associated modules for

                       6   prohibited purposes, such as copying, reverse engineering, and/or commercially exploiting

                       7   portions of the Services governed by WalkMe’s Terms of Service, including but not limited to

                       8   WalkMe Editor, WalkMe Player, and WalkMe Analytics.

                       9           B. Whatfix’s False and Misleading Advertising and Trademark Infringements
                      10           47.    Whatfix’s unlawful conduct and unfair business practices extend to its product

                      11   marketing and advertising activities. In attempting to lure potential customers to Whatfix and

                      12   away from WalkMe, WalkMe has disseminated false and/or misleading comparative advertising

                      13   claims that materially misstate the functionality and capabilities of WalkMe’s competing Digital

                      14   Adoption Platform. Additionally, in the context of its comparative advertising materials that

                      15   promote Whatfix’s competing goods and services, Whatfix has repeatedly used the WALKME

                      16   Logo, without WalkMe’s permission, in violation of WalkMe’s valuable trademark rights.

                      17           48.    Whatfix has repeatedly engaged in this pattern of unlawful conduct and unfair

                      18   business practices for years. WalkMe first notified Whatfix in 2018 of false and misleading

                      19   statements made about WalkMe’s products and services in the context of a “Whatfix Vs.
                      20   WalkMe” comparative advertising chart published on Whatfix’s website at that time, as well as

                      21   Whatfix’s unauthorized use of WalkMe’s stylized design mark. In response, Whatfix appeared to

                      22   take at least some corrective action by removing from its webpages the false statements that

                      23   WalkMe flagged.

                      24           49.    More recently, on several Whatfix website URLs, Whatfix publishes “Comparison

                      25   Tables” that purport to identify common and differentiating product features and functionalities

                      26   among industry competitors, including WalkMe and Whatfix. Whatfix maintains an entire

                      27   webpage dedicated to “Exploring WalkMe Alternatives and Competitors,” in which Whatfix

                      28   claims, without any support, that “leading enterprises believe Whatfix is easier to use, delivers
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                       1   better returns, provides stellar customer support and is a better overall platform in comparison to

                       2   WalkMe….” See Exhibit C.

                       3          50.     The “Comparison Tables” published on this webpage (and others) list a selective

                       4   subset of product capabilities, which Whatfix posits to be material considerations for customers

                       5   deciding between WalkMe or an alternative competitive Digital Adoption Platform solution:

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                      11          51.     In its “Comparison Tables” (reproduced below), Whatfix has falsely claimed that

                      12   WalkMe lacks certain functionalities (boxed in red) that Whatfix purports to provide:

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                      27          52.     Contrary to Whatfix’s claims, WalkMe’s products can, and do, perform these

                      28   capabilities that Whatfix asserts are missing:
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                       1                a.      “Embed knowledge base wiki that links to external resources and

                       2        track support questions and search trends.” WalkMe users can link to a wiki or

                       3        knowledge base from within WalkMe. WalkMe supports a variety of knowledge base

                       4        integrations, including but not limited to, Atlassian Confluence, Google Docs, and

                       5        Microsoft Word.

                       6                b.      SCORM compliant: WalkMe does, in fact, support SCORM. WalkMe’s

                       7        customers can create and deliver SCORM-compliant courses to their learners, as reflected

                       8        in the below screenshot from WalkMe’s online marketing collateral (annotation supplied).

                       9        (See https://www.walkme.com/glossary/digital-adoption-platform/.) WalkMe also
                      10        supports a variety of other LMS formats, including TinCan, AICC, and xAPI.

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                      24                c.      Communicate with users directly with in-app messages: WalkMe

                      25        enables direct communication with specific users, through use of the WalkMe API to send

                      26        users in-app messages. This allows WalkMe customers to send messages to users based

                      27        on their profile, activity, or other criteria.

                      28        53.     Reproduced below are additional instances within the “WalkMe Alternatives”
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                       1   webpage where Whatfix repeats the false statement that Whatfix provides “SCORM compliance,”

                       2   whereas WalkMe and other competitors do not. As detailed above, such statements are literally

                       3   false and/or misleading with respect to WalkMe. Thus, it is false and misleading for Whatfix to

                       4   promote SCORM compliance as a feature that differentiates Whatfix from WalkMe.

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                      27          54.    The “Comparisons Table” and related comparative advertising messages published

                      28   on multiple Whatfix webpages contain, at least, the above-referenced false and/or misleading
DLA P I PER LLP (US)                                                        16
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                       1   statements concerning the features and functionality of WalkMe’s services. Such falsehoods

                       2   contained in the “Comparisons Tables,” and reiterated in competitive comparison literature

                       3   published through multiple Whatfix URLs, relate to capabilities that are inherent to the

                       4   functionality of WalkMe’s services and that materially impact consumers’ purchasing decisions,

                       5   as Whatfix itself posits in its promotional materials.

                       6          55.     Whatfix’s misrepresentations concerning WalkMe’s purportedly absent

                       7   capabilities influence potential customers to purchase Whatfix’s competing solution over

                       8   WalkMe’s, which, upon information and belief, is Whatfix’s specific intent in publishing these

                       9   comparative advertising statements. Whatfix’s conduct has caused and is likely to cause WalkMe
                      10   monetary damage in the form of lost sales and lost profits.

                      11          56.     Whatfix’s false and/or misleading representations of fact have harmed and

                      12   diminished, and are likely to and will inevitably harm and diminish, WalkMe’s goodwill,

                      13   business reputation and credibility in the trade, and the demand for WalkMe’s products. Thus,

                      14   Whatfix’s false and/or misleading statements, alone and in combination, are likely to cause

                      15   WalkMe irreparable commercial and reputational harm.

                      16          57.     Whatfix’s false and/or misleading representations were made in bad faith and with

                      17   intent to confuse the relevant consumers and with intent to bolster sales of Whatfix’s products at

                      18   the expense of WalkMe’s products.

                      19          58.     Additionally, in the context of its comparative advertising webpages that promote
                      20   Whatfix’s competing goods and services, Whatfix, once again, used the WALKME Logo,

                      21   without WalkMe’s permission, in violation of WalkMe’s valuable federal and common law

                      22   trademark rights.

                      23          59.     For example, in its webpage comparing “WalkMe vs. Whatfix,” and other

                      24   derivative pages that compare WalkMe to other industry competitors, Whatfix reproduced

                      25   WalkMe’s distinctive and protected logo without authorization (See Exhibit D):

                      26   ///

                      27   ///

                      28   ///
DLA P I PER LLP (US)                                                         17
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                                  60.    Additionally, in its competitive product comparisons (Exhibit D), and, at least,
                      14
                           another Whatfix’s corporate-sponsored blog post titled, “13 Best Digital Adoption Platforms
                      15
                           (DAPS) in 2023” (https://whatfix.com/blog/best-digital-adoption-platforms/), Whatfix publishes a
                      16
                           distorted but confusingly similar version of the WALKME Logo without authorization:
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                      27          61.    WalkMe’s commercial products and services are readily identifiable without use

                      28   or publication of the WALKME Logo, for example, by referencing WalkMe’s brand, products or
DLA P I PER LLP (US)                                                       18
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                       1   services by word or name. In using the WALKME Logo without WalkMe’s permission, Whatfix

                       2   has used more of WalkMe’s trademarks than necessary for purposes of advertising and promoting

                       3   Whatfix’s competing products and services. Whatfix could adequately communicate any fair and

                       4   truthful advertising message concerning WalkMe’s competing products and services without

                       5   using the visual trappings of the WalkMe brand and distinctive WALKME Logo.

                       6          C. WalkMe’s Pre-Suit Cease-and-Desist Correspondence with Whatfix

                       7          62.     After discovering Whatfix’s illicit conduct described above, on or about June 23,

                       8   2023, WalkMe sent Whatfix a cease-and-desist letter through its counsel (the “June 23 Letter”).

                       9          63.     The June 23 Letter informed Whatfix of the Whatfix Users’ activities that WalkMe
                      10   had uncovered, demanded that Whatfix immediately cease and desist from any current or future

                      11   attempts to gain unauthorized access to WalkMe’s non-public platform, and demanded that

                      12   Whatfix account for every instance in which any Whatfix employee or agent has logged into or

                      13   accessed any non-public WalkMe system in the past five years.

                      14          64.     The June 23 Letter further notified Whatfix of the false and misleading advertising

                      15   statements complained of herein, as well as Whatfix’s repeated unauthorized use of the

                      16   WALKME Logo on Whatfix’s webpages. WalkMe demanded that Whatfix immediately take

                      17   steps to remove from its advertising, marketing, or promotional literature any and all: (i)

                      18   publication of the false and misleading comparative advertising statements, and (ii) use,

                      19   publication, or display of the WALKME Logo.
                      20          65.     By letter dated June 30, 2023, Whatfix responded to the June 23 Letter (the “June

                      21   30 Letter). In its June 30 Letter, Whatfix acknowledged that its employees or agents gained

                      22   access to WalkMe’s non-public platform through WalkMe customer accounts. Yet, Whatfix did

                      23   not consent to WalkMe’s demand to cease-and-desist from accessing WalkMe’s non-public

                      24   platform through customer accounts or to account for any past instances of Whatfix logging into

                      25   and accessing non-public WalkMe systems.

                      26          66.     In its June 30 Letter, Whatfix also acknowledged that WalkMe was correct

                      27   regarding one of the three comparative advertising statements highlighted in WalkMe’s June 23

                      28   Letter (i.e., “in-app messaging”), and agreed to “adjust its comparisons accordingly.” However,
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                       1   with respect to the other two comparative advertising statements highlighted in the June 23 Letter

                       2   and the instant Complaint, Whatfix refused to acknowledge that the messages were false or

                       3   misleading and refused to take any corrective action. Whatfix further disagreed that it was

                       4   making impermissible use of the WALKME Logo, but agreed “as an accommodation, going

                       5   forward, [to] use the word mark ‘WalkMe’ and discontinue use of the logo mark.”

                       6          67.      As of the date of this Complaint, Whatfix appears to have modified certain of its

                       7   webpages to address the false and misleading statements concerning “in-app messaging” and to

                       8   remove some, but not all, publications and use of the WALKME Logo, while elsewhere

                       9   continuing to make other false and misleading statements to consumers regarding WalkMe as
                      10   described herein and continuing to engage in improper use of the WALKME Logo (or a distorted,

                      11   confusingly similar variation thereof).

                      12          68.      Although WalkMe’s investigation of suspicious user activities remains ongoing,

                      13   WalkMe is informed and believes that, since WalkMe sent Whaftix the June 23 Letter, Whatfix’s

                      14   attempts to unlawfully access WalkMe’s proprietary platform and interfere with active WalkMe

                      15   customer relationships have continued and extended to additional customer accounts.

                      16          69.      In light of Whatfix’s refusal to cease-and-desist from its unauthorized intrusions

                      17   into WalkMe’s proprietary systems; refusal to correct all of the false and misleading

                      18   advertisements highlighted in the June 23 Letter and the instant Complaint; failure to remove all

                      19   unauthorized use and publications of the WALKME Logo on Whatfix webpages; and repeated
                      20   pattern of unlawful and unfair competitive practices, WalkMe brings this action against Whatfix

                      21   to protect and enforce its valuable intellectual property rights and propriety business information,

                      22   compensate WalkMe for the harms caused directly and proximately by Whatfix’s misconduct,

                      23   and mitigate the ongoing and irreparable injury to WalkMe’s business, commercial reputation,

                      24   and goodwill.

                      25
                                                            FIRST CAUSE OF ACTION
                      26                    (Federal False Advertising in Violation of 15 U.S.C. § 1125(a))
                      27          70.      WalkMe realleges and incorporates the previous paragraphs of this Complaint as

                      28   though fully set forth herein.
DLA P I PER LLP (US)                                                         20
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                       1          71.     Whatfix’s false and misleading advertisements and statements constitute false

                       2   advertising in violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

                       3          72.     Whatfix has made and continues to make false and misleading representations

                       4   concerning WalkMe’s products in Whaftix’s advertisements, marketing materials, and/or oral

                       5   statements, throughout the United States, and upon information and belief in California, with the

                       6   intent to mislead and deceive consumers.

                       7          73.     Upon information and belief, Whatfix’s false and/or misleading statements have

                       8   actually deceived or tended to deceive a substantial segment of the relevant consumers for the

                       9   parties’ competing digital adoption and digital transformation software services.
                      10          74.     Upon information and belief, Whatfix’s false and/or misleading statements are

                      11   material in that they have influenced the purchasing decisions of digital adoption and digital

                      12   transformation software services throughout the United States.

                      13          75.     Whatfix’s false and misleading statements were and are made in interstate

                      14   commerce.

                      15          76.     Whatfix’s improper activities, as described herein, have been willful and

                      16   deliberate, thereby making this an exceptional case under the Lanham Act. Indeed, Whatfix knew

                      17   or reasonably should have known that its advertisements and marketing materials were false

                      18   and/or misleading. Therefore, Whatfix’s false advertising of its products was purposeful and

                      19   knowing and merits a finding that exceptional circumstances exist sufficient to support an award
                      20   of attorneys’ fees and treble damages.

                      21          77.     As a direct and proximate result of the acts of Whatfix as alleged herein, WalkMe

                      22   has been damaged through, inter alia, lost sales and profits, lost customers, and lost market share.

                      23          78.     As a direct and proximate result of the acts of Whatfix as alleged herein, WalkMe

                      24   has suffered and will continue to suffer damage to its business, goodwill, reputation, and profits,

                      25   while Whatfix is profiting at WalkMe’s expense.

                      26          79.     WalkMe has suffered an irreparable injury.

                      27          80.     WalkMe has no adequate remedy at law.

                      28          81.     The balance of hardships favors granting WalkMe injunctive relief.
DLA P I PER LLP (US)                                                       21
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                       1          82.       The public interest would be served by enjoining Whatfix because it would, among

                       2   other reasons, stop Whatfix’s false and misleading advertising and consumer deception from

                       3   continuing.

                       4                                    SECOND CAUSE OF ACTION
                                         (False Advertising Pursuant to Cal. Bus. & Prof. Code § 17500 et seq.)
                       5

                       6          75.       WalkMe realleges and incorporates the previous paragraphs of this Complaint as

                       7   though fully set forth herein.

                       8          76.       Whatfix advertises its products, including its competing digital adoption and

                       9   digital transformation software solutions, in the State of California. In so doing, Whatfix makes
                      10   representations concerning the effectiveness and viability of its products and compares its

                      11   products to those of WalkMe. As set forth above, these representations are false and misleading.

                      12          77.       Whatfix knew that the statements in its advertising are untrue or misleading or, by

                      13   the exercise of reasonable care, should have known that the statements are untrue or misleading.

                      14          78.       Whatfix’s conduct constitutes false advertising under Cal. Bus. & Prof. Code §

                      15   17500 et seq. Such false advertising has been done willfully with the intent to harm WalkMe.

                      16          79.       Whatfix has benefitted from the sale of its products to consumers who relied upon

                      17   the untrue and misleading representations set forth herein.

                      18          83.       Whatfix’s false and misleading statements were intended to competitively

                      19   disadvantage WalkMe in the State of California and give Whatfix an unfair advantage in the
                      20   competitive marketplace.

                      21          84.       Whatfix’s false advertising has caused and is causing damage and irreparable harm

                      22   to WalkMe in the form of lost profits, loss of market share, loss of sales, and loss of reputation

                      23   and goodwill, which damage and injury will continue if not enjoined.

                      24                                THIRD CAUSE OF ACTION
                             (Federal Trademark Infringement, False Designation of Origin, and Unfair Competition
                      25                             Under 15 U.S.C. §§ 1114 & 1125(a))
                      26          80.       WalkMe realleges and incorporates the previous paragraphs of this Complaint as

                      27   though fully set forth herein.

                      28          81.       WalkMe is the owner of the WALKME Logo.
DLA P I PER LLP (US)                                                      22
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                       1          82.     The WALKME Logo is on the Principal Register of the United States Patent and

                       2   Trademark Office.

                       3          83.     The WALKME Logo is inherently distinctive, and WalkMe has used and

                       4   marketed the WalkMe Logo to distinguish and identify its company and to promote its products

                       5   and solutions in the marketplace such that, in the minds of the public, the primary significance of

                       6   the WALKME Logo is to identify WalkMe as the source of its products and services.

                       7          84.     Through its extensive and continuous use, the WALKME Logo and the goodwill

                       8   associated with it in the United States and throughout the world are of significant value, and have

                       9   become universally associated in the public mind with WalkMe, its products and services, and the
                      10   very highest quality and reputation.

                      11          85.     Whatfix’s intentional, unauthorized use of the WALKME Logo in Whatfix’s

                      12   advertising, promotion, and marketing materials is causing and is likely to continue causing

                      13   consumer confusion, mistake, or deception, and constitutes federal trademark infringement, false

                      14   designation of origin, and/or unfair competition in violation of the Lanham Act, 15 U.S.C. § 1114

                      15   and 15 U.S.C. § 1125(a).

                      16          86.     Whatfix was fully aware of WalkMe, WalkMe’s competing products and services,

                      17   and the WALKME Logo before copying and using the WALKME Logo in the context of

                      18   advertising Whatfix’s products on its website and corporate-sponsored online blog pages.

                      19   WalkMe’s products and services are readily identifiable without use or publication of the
                      20   WALKME Logo, and Whatfix has used more of WalkMe’s trademarks than would be necessary

                      21   to communicate a fair and truthful comparative advertising message.

                      22          87.     As a result of Whatfix’s acts of trademark infringement, false designation of

                      23   origin, and unfair competition, Whatfix has diminished the reputation and distinctiveness of

                      24   WalkMe and its products and services.

                      25          88.     As a result of Whatfix’s unlawful conduct, WalkMe has been and continues to be

                      26   substantially and irreparably harmed. If Whatfix’s infringement and unlawful acts are permitted

                      27   to continue, WalkMe will sustain further damage and irreparable injury. Through such unfair acts

                      28   and unauthorized use of the identical or near identical and confusingly similar WALKME Logo,
DLA P I PER LLP (US)                                                         23
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                       1   the value of the WALKME Logo will be diminished or destroyed, for which damage WalkMe

                       2   cannot be adequately compensated at law.

                       3            89.    Whatfix has derived unlawful gains and profits from its infringement of the

                       4   WALKME Logo, and Whatfix thereby has caused loss and damage to the goodwill in the

                       5   WALKME Logo. As a direct and proximate result of Whatfix’s infringement, WalkMe has

                       6   suffered and is likely to suffer injury to its business, goodwill, reputation, and profit, in an amount

                       7   as yet unknown but to be proven at trial.

                       8            90.    WalkMe’s damages may be trebled pursuant to Section 35(a) of the Lanham Act,

                       9   15 U.S.C. § 1117(a), because Whatfix’s actions have been committed willfully, with intent to
                      10   deceive and with full knowledge of WalkMe’s prior use of the WALKME Logo.

                      11            91.    WalkMe is therefore entitled to a preliminary and permanent injunction enjoining

                      12   and restraining Defendants from using the WALKME Logo or anything confusingly similar to the

                      13   WALKME Logo.

                      14                              FOURTH CAUSE OF ACTION
                                 (Common Law Trademark Infringement, Unfair Competition, and Misappropriation)
                      15

                      16            92.    WalkMe repeats and realleges the previous paragraphs of the Complaint as though

                      17   fully set forth herein.

                      18            93.    Whatfix has infringed the WALKME Logo in violation of WalkMe’s proprietary

                      19   rights and has engaged in false and misleading advertising. Such acts constitute trademark
                      20   infringement, unfair trade practices, and unfair competition under the common law.

                      21            94.    Whatfix’s conduct is intended to exploit the goodwill and reputation associated

                      22   with WalkMe’s products and services and the WALKME Logo.

                      23            95.    Whatfix’s activities described above have at all times been willful and/or knowing.

                      24            96.    As a direct and proximate result of Whatfix’s actions described above, WalkMe

                      25   has been damaged and will continue to be damaged.

                      26   ///

                      27   ///

                      28   ///
DLA P I PER LLP (US)                                                          24
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                       1                                    FIFTH CAUSE OF ACTION
                                          (Unfair Competition Under Cal. Bus. & Prof. Code § 17200 et seq.)
                       2

                       3           97.     WalkMe repeats and realleges the previous paragraphs of the Complaint as though

                       4   fully set forth herein.

                       5           98.     California’s Unfair Competition Law prohibits “unfair competition,” which is

                       6   defined broadly to include “any unlawful, unfair or fraudulent business act or practice.”

                       7           99.     Whatfix’s use of and marketing of products via advertisements and images that

                       8   infringe the WALKME Logo, as alleged above, constitutes unfair competition and an unlawful

                       9   and/or unfair business practice in violation of Sections 17200 et seq. of the California Business
                      10   and Professions Code.

                      11           100.    Whaftix’s unfair competition practices, namely, the unauthorized publication and

                      12   use of the WALKME Logo, have been willful and have been committed with the knowledge of

                      13   WalkMe’s business and use of the WALKME Logo.

                      14           101.    Whatfix’s use of the WALKME Logo, in combination with its campaign of false

                      15   and/or misleading comparative advertising statements, has allowed Whatfix to unfairly benefit

                      16   from and trade off of the distinctiveness, reputation, and goodwill associated with WalkMe’s

                      17   goods and services and the WALKME Logo, and to confuse, mislead, and/or deceive customers

                      18   and potential customers of Whatfix’s and WalkMe’s competing products and services. WalkMe’s

                      19   products and services are readily identifiable without use or publication of the WALKME Logo,
                      20   and Whatfix has used more of WalkMe’s trademarks than would be necessary to communicate a

                      21   fair and truthful comparative advertising message to relevant consumers.

                      22           102.    As a result of Whatfix’s acts of unfair competition, WalkMe has been and

                      23   continues to be substantially and irreparably harmed. If Whatfix’s unfair competition is permitted

                      24   to continue, further damage and irreparable injury will be sustained by WalkMe. Through such

                      25   unfair acts and use of the same or confusingly similar trademarks, the value of the WALKME

                      26   Logo will be diminished or destroyed, for which damage WalkMe cannot be adequately

                      27   compensated at law.

                      28
DLA P I PER LLP (US)                                                        25
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                       1             103.   WalkMe has derived unlawful gains and profits from its acts of unfair competition,

                       2   as alleged above, and has caused loss and damage to WalkMe, WalkMe’s goodwill, and the

                       3   WALKME Logo. WalkMe has suffered and is likely to suffer injury to its business, goodwill,

                       4   reputation, and profit, in an amount as yet unknown but to be proven at trial.

                       5                                      SIXTH CAUSE OF ACTION
                                                              (Inducing Breach of Contract)
                       6

                       7             104.   WalkMe repeats and realleges the previous paragraphs of the Complaint as though

                       8   fully set forth herein.

                       9             105.   At all times relevant to the conduct alleged herein, WalkMe had valid subscription
                      10   agreements with customers              and         defined and described above as the

                      11   Agreement and             Agreement.

                      12             106.   Upon information and belief, Whatfix had knowledge of the                 Agreement

                      13   and the          Agreement.

                      14             107.   By directing or causing          and         to create user accounts and log-in

                      15   credentials for, or on behalf of, the Whatfix Users, Whatfix committed an intentional act designed

                      16   to induce a breach or disrupt the contractual relationship between WalkMe and these customers.

                      17   As a direct and proximate result of Whatfix’s conduct,             breached at least the

                      18   Confidentiality provision of the             Agreement, and        breached at least the

                      19   Confidentiality and Restricted Use provisions of the           Agreement, recited in relevant part
                      20   above.

                      21             108.   If Whatfix had not intentionally directed or caused           and          to create

                      22   and provide the Whatfix Users with user accounts and log-in credentials to access WalkMe’s

                      23   proprietary platform, WalkMe is informed and believes that these customers would not have

                      24   violated, and would have no reason to violate, the Confidentiality and/or Use Restriction

                      25   provisions set forth in their customer agreements.

                      26             109.   As a direct and proximate result of Whatfix’s actions described above, WalkMe

                      27   has been damaged and will continue to be damaged due to the loss of confidential and proprietary

                      28
DLA P I PER LLP (US)                                                           26
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                       1   data and business information, loss of business and profits, and loss of goodwill and reputation as

                       2   a leading innovator in the industry.

                       3                                   SEVENTH CAUSE OF ACTION
                                                               (Breach of Contract)
                       4

                       5           110.    WalkMe repeats and realleges the previous paragraphs of the Complaint, as if set

                       6   forth herein in full.

                       7           111.    WalkMe’s Terms of Service are a valid and enforceable contract between WalkMe

                       8   and end-users which governs access and use of WalkMe’s Services.

                       9           112.    By accessing and using certain WalkMe Services, the Whatfix Users were bound
                      10   by the contractual obligations, terms, and conditions set forth in the Terms of Service.

                      11           113.    At all times, WalkMe has performed and satisfied all of its duties and obligations

                      12   under the Terms of Service.

                      13           114.    Whatfix breached the Terms of Service by violating, at a minimum, the Use

                      14   Restrictions set forth in Section 6. As detailed above, Whatfix violated the Use Restriction

                      15   provisions at least by: (i) directing or causing the Whatfix Users to falsely impersonate WalkMe’s

                      16   customers’ employees to gain access to and use certain WalkMe Services that Whatfix had no

                      17   legal right or legitimate reason to access or use; and (ii) accessing and using the WalkMe Services

                      18   for prohibited purposes, including without limitation, copying, downloading, reverse engineering,

                      19   and/or commercially exploiting portions of the Services for Whatfix’s competitive advantage and
                      20   to WalkMe’s detriment.

                      21           115.    As a direct and proximate result of Whatfix’s breach, WalkMe has been

                      22   irreparably harmed and has suffered monetary damage, in an amount to be determined at trial.

                      23                                          PRAYER FOR RELIEF

                      24           WHEREFORE, WalkMe prays that the Court:

                      25           1.      Issue preliminary and permanent injunctive relief prohibiting Whatfix from

                      26   making the false or misleading statements complained of herein and requiring Whatfix to (i)

                      27   immediately withdraw, retract, and/or destroy, as applicable, all advertisements, promotions, and

                      28   other marketing materials containing any and all such false or misleading statements; (ii) publish
DLA P I PER LLP (US)                                                        27
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                       1   appropriate corrective advertising; and (iii) withdraw from any customer contract awarded based

                       2   on these false and misleading statements;

                       3             2.       Issue preliminary and permanent injunctive relief against Whatfix, and Whatfix’s

                       4   officers, agents, representatives, servants, employees, attorneys, successors and assigns, and all

                       5   others in active concert or participation with Whatfix, such that they be enjoined and restrained

                       6   from:

                       7                      (a)    using, imitating, copying, or making any other infringing use of the

                       8             WALKME Logo in advertising, marketing, or promotion now or hereafter;

                       9                      (b)    engaging in any other activity constituting an infringement of the
                      10             WALKME Logo, or of WALKME’s rights in, or right to use or to exploit, the WALKME

                      11             Logo; and

                      12                      (c)    assisting, aiding, or abetting any other person or business entity in

                      13             engaging in or performing any of the activities referred to in subparagraphs (a) through (b)

                      14             above;

                      15             3.       Order that Whatfix, and those in active concert with Whatfix, hold in trust, as

                      16   constructive trustees for the benefit of WalkMe, any and all profits obtained as a direct or

                      17   proximate result of Whatfix’s false and/or misleading advertising statements and/or infringements

                      18   of the WALKME Logo;

                      19             4.       Order that Whatfix pay WalkMe’s damages and Whatfix’s profits pursuant to 15
                      20   U.S.C. § 1117(a) for Whatfix’s willful Lanham Act violations, along with punitive and exemplary

                      21   damages;

                      22             5.       Order that Whatfix pay WalkMe damages to compensate WalkMe for the harms

                      23   directly and proximately caused by Whatfix’s inducing breach of contract and/or breach of

                      24   contract, in an amount to be determined at trial;

                      25             6.       Order Whatfix to pay to WalkMe pre-judgment interest, post-judgment interest,

                      26   the costs of this action, and the reasonable attorneys’ fees incurred in prosecuting this action; and

                      27             7.       Grant WalkMe any such other and additional relief as the Court deems just and

                      28   proper.
DLA P I PER LLP (US)                                                            28
    SAN FRA NCI SCO
                                                                                                                        COMPLAINT
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                           Dated: August 8, 2023                 DLA PIPER LLP (US)
                       2

                       3                                         By /s/ Rajiv Dharnidharka
                                                                    RAJIV DHARNIDHARKA
                       4                                            JEANETTE BARZELAY
                                                                    Attorneys for Plaintiffs
                       5                                            WALKME LTD. and WALKME, INC.
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DLA P I PER LLP (US)                                               29
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                       1                                    DEMAND FOR JURY TRIAL

                       2          Plaintiff demands a trial by jury on all claims so triable.

                       3   Dated: August 8, 2023                          DLA PIPER LLP (US)
                       4
                                                                          By /s/ Rajiv Dharnidharka
                       5                                                     RAJIV DHARNIDHARKA
                                                                             JEANETTE BARZELAY
                       6                                                     Attorneys for Plaintiffs
                                                                             WALKME LTD. and WALKME, INC.
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DLA P I PER LLP (US)                                                         30
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